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       Attorneys for Plaintiffs IV SOLUTIONS, INC. as an Assignee
   6   and IV SOLUTIONS, INC. in its Own Individual Right
   7
   8                          UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10
  11   IV SOLUTIONS, INC., a California )         CASE NO.: EDCV 07-1603 VAP (JWJx)
       Corporation, in its capacity as        )
  12   Assignee under an Assignment of )          DECLARATION OF ALEX VARA IN
       Benefits and IV SOLUTIONS,             )   SUPPORT OF PLAINTIFFS’
  13   INC., a California corporation, in its )   OPPOSITION TO DEFENDANT’S
       own separate and individual right )        MOTION FOR TERMINATING
  14   and capacity,                          )   SANCTIONS
                                              )
  15                Plaintiffs,               )   DATE:         April 27, 2009
                                              )   TIME:         10:00 a.m.
  16         vs.                              )   PLACE:        Courtroom 2
                                              )   JUDGE:        Hon. Virginia A. Phillips
  17   THE OFFICE DEPOT EMPLOYEE )
       WELFARE BENEFIT PLAN and )
  18   DOES 1 through 50, inclusive,          )
                                              )
  19                                          )
                    Defendants.               )
  20                                          )
  21
  22         I, ALEX VARA, declare:
  23         1.     I am the principal and owner of IV SOLUTIONS, INC. If called to
  24   testify, I could and would competently attest to the following facts from my own
  25   personal knowledge.
  26         2.     At no time since the initiation of this action have I spoken with,
  27   contacted or otherwise communicated with Krystal Pinkney. At no time have I ever
  28   advised her not to attend her deposition in this case.

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             DECLARATION OF ALEX VARA IN SUPPORT OF PLAINTIFFS’ OPPOSITION
                  TO DEFENDANT’S MOTION FOR TERMINATING SANCTIONS
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   1              3.          On or about February 20, 2009, I received a telephone call from June
   2   Bedford, a former employee of IV SOLUTIONS, INC. At that time, Ms. Bedford
   3   explained that she had been served with a subpoena requiring her deposition
   4   testimony. She did not know what the case was about and asked me what the case
   5   involved. I told her, in brief, what the case involved and she indicated that she had
   6   no recollection of the case. She then questioned me about whether she should
   7   appear for the deposition, given the fact that she had little if any information
   8   concerning the case. At no time during this conversation did I ever instruct her not
   9   to appear at the deposition nor did I instruct her to refuse to give testimony. At no
  10   time during this conversation did I suggest to her that it would be appropriate not to
  11   attend her deposition or to refuse to give testimony.
  12              4.          In fact, I explained the nature of the case to her and answered all of the
  13   questions that she had concerning the case. I did not believe it was my role to give
  14   June Bedford advice about whether she should attend the deposition, despite the
  15   fact that she asked me whether she should attend the deposition. I declined to give
  16   her any response to that direct question. Ms. Bedford seemed to be conflicted about
  17   attending the deposition during our phone conversation, expressing to me that it
  18   would be difficult for her to attend given her work schedule, and expressing on
  19   numerous occasions her frustration at not being able to recall any facts concerning
  20   the case.
  21              I declare under penalty of perjury, under the laws of the State of California,
  22   that the foregoing is true and correct.
  23   DATED: April 13, 2009
  24
  25                                                                /s/ Alex Vara
                                                               ALEX VARA, Declarant
  26
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  28   D eclV AR A-O ppM TermSanc1.w pd



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                  DECLARATION OF ALEX VARA IN SUPPORT OF PLAINTIFFS’ OPPOSITION
                       TO DEFENDANT’S MOTION FOR TERMINATING SANCTIONS
